Case 2:23-cv-03249-WJM-JSA Document 18 Filed 08/08/23 Page 1 of 2 PageID: 74




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


 In Re: Fragrance Indirect Purchaser Antitrust
 Litigation
                                                    Civil Action No.: 23-3249 (WJM)(JSA)

                                                           Entry of Appearance



TO THE CLERK:

       Kindly enter the appearance of Sean P. McConnell, Esq. on behalf of defendants Firmenich

Incorporated and Agilex Flavors & Fragrances, Inc. in the above-captioned matter.



                                            DUANE MORRIS LLP



                                            /s/ Sean P. McConnell
                                            Sean P. McConnell
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                                            NJ Bar #: 31352009
Case 2:23-cv-03249-WJM-JSA Document 18 Filed 08/08/23 Page 2 of 2 PageID: 75




                                CERTIFICATE OF SERVICE

       I, Sean P. McConnell, hereby certify that on August 8, 2023, I caused my Entry of

Appearance on behalf of Firmenich Incorporated and Agilex Flavors & Fragrances, Inc. to be

filed with the U.S. District Court for the District of New Jersey and served upon counsel of

record via the Court’s CM/ECF system.




                                                     By: /s/ Sean P. McConnell

                                                     Sean P. McConnell




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